               Case 2:03-cr-00384-WBS Document 79 Filed 07/29/05 Page 1 of 2


 1   JAN DAVID KAROWSKY
     Attorney at Law
 2   A Professional Corporation
     California State Bar Number 53854
 3   716 19th Street, Suite 100
     Sacramento, CA 95814
 4   (916) 447-1134
     (916) 448-0265 (Fax)
 5
     Attorney for Defendant
 6   Juliette Labrecque
 7                                  UNITED STATES DISTRICT COURT
 8                   IN AND FOR THE EASTERN DISTIRCT OF CALIFORNIA
 9

10   United States of America,                        )   Case No.: Cr.S-03-384-WBS
                                                      )
11                   Plaintiff,                       )   PROPOSED ORDER DIRECTING
                                                      )   MENTAL EXAMINATION OF
12           vs.                                      )   JULIETTE LABRECQUE
                                                      )
13   Juliette Labrecque, et. al.,                     )
                                                      )
14                   Defendant                        )
                                                          Judge: Hon. William B. Shubb
                                                      )
15                                                    )
                                                      )
16                                                    )
                                                      )
17
                                                   ORDER
18

19
             On January 10, 2005, Plaintiff, United States of America, by AUSA Laurel White, and
20
     Defendant, Juliette Labrecque, by her attorney of record, Jan David Karowsky, filed a stipulation
21
     with the Court including an attached report from a psychologist, wherein the parties stipulated
22
     that Juliette Labrecque is incompetent to stand trial.
23
             Based on the parties’ Stipulation, on January 13, 2005, the Court found that because of
24
     her mental disease, the defendant lacked the capacity to assist rationally or properly in her
25
     defense and thus was incompetent to stand trial.
     _____________________________________________________________________________________________
     Order Directing Mental Examination                       U.S. v. Juliette Labrecque Cr.S-03-484-WBS
                                                  -1-
              Case 2:03-cr-00384-WBS Document 79 Filed 07/29/05 Page 2 of 2


 1          Pursuant to 18 U.S.C. §§ 4241(b) and 4247(b), it is therefore ORDERED that the
 2
     defendant be committed forthwith to the custody of the Attorney General for psychiatric and/or
 3
     psychological examination, pursuant to 18 U.S.C. § 4241(b), to determine whether the defendant
 4
     is suffering from a mental disease or defect rendering her mentally incompetent to the extent that
 5
     she is unable to understand the nature and consequences of the proceedings against her or to
 6
     assist rationally or properly in her defense. The examination shall comply with the requirements
 7
     of 18 U.S.C. § 4247(b).
 8

 9          Time under the Speedy Trial Act will be excluded from January 10, 2005 (the date of the

10   filing of the Stipulation referenced above), through the timely return of the defendant from the

11   instant commitment to the custody of the Attorney General pursuant to Local Code E (pretrial

12   motions) and N (period of mental incompetence of defendant to stand trial).
13
            IT IS SO ORDERED.
14

15   Dated: July 28, 2005

16

17

18

19

20

21

22

23

24

25


     _____________________________________________________________________________________________
     Order Directing Mental Examination                       U.S. v. Juliette Labrecque Cr.S-03-484-WBS
                                                  -2-
